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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                         :
 LEONIDES DUVERNY,                       :
                                         :
                          Plaintiff,     :             18cv7652(DLC)
                -v-                      :
                                         :                  ORDER
 HERCULES MEDICAL P.C., ACHILLES         :
 MEDICAL P.C., HYPERION MEDICAL P.C.,    :
 and GEOFFREY RICHSTONE, individually, :
                                         :
                          Defendants.    :
                                         :
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DENISE COTE, District Judge:

     A jury trial in the above-captioned matter was scheduled to

begin on November 9, 2020.     On November 8, the parties learned

that a staff member for plaintiff’s counsel may have been

exposed to COVID-19.    The defendants requested an adjournment of

the trial; plaintiff did not oppose.       Accordingly, it is hereby

     ORDERED that the trial date is adjourned sine die.

     IT IS FURTHER ORDERED that the parties shall jointly advise

the Court by November 12, 2020 at noon whether they consent to a

nonjury trial.   Under no circumstances should the parties

disclose who consents to a nonjury trial and who does not,
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should there be disagreement.

     SO ORDERED:

Dated:       New York, New York
             November 9, 2020


                                           ____________________________
                                                    DENISE COTE
                                           United States District Judge




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